 

 

U.S. Department of Justice
United States Attorney
it District of Maryland
p 4! Martin J, Clarke Site 400 DIRECT: 410-209-4840
a Assistant United States Attorney 36S. Cherles Street ALAIN: 410-200-4500
wv marh.clarke@usday. gov Baltimare, MD 21201-3119 FAN; $10-962-0716
April 29, 2019
nT
‘Deborah Boardman “ mS
Assistant Federal Public Defender ~< 2
Office of the Federal Public Defender \ z ee
100 S. Charles St. ‘ =
Tower II, 9" Floor Te
Baltimore, MD 21201 ™
Re: = United States v. Wiliam Lamont Holder
Criminal No. CCB-]§-0627
Dear Counsel:

43
\

~
as
om

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, William Lamont Holder (hereafier

“Defendant), by the United States Attorney's Office for the District of Maryland (“this Office”).

If the Defendant accepts this offer, please have the Defendant execute it in the spaces provided
terms of the Agrecinent are as follows:

below. If this offer has not been accepted by May 3, 2019, it will be deemed withdrawn. The

Offense of Conviction
1.

The Defendant agrees to plead guilty to Count Four of the Indictment, which
charges the Defendant with wire fraud, in violation of 18 U.S.C. § 1343. The Defendant admits
that he is, in fact, guilty of this offense and will so advise the Court.

Elements of the Offenses
2.

The elements of the offense io which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as fo!lows:

Wire Fraud
a.

First, that there was a scheme or artifice ta defraud and to obtain money and
property by materially false and fraudulent pretenses, representations and promises, as alleged in
the Indictment;
b. Second, that the Defendant knowingly and willfully participated in the scheme or
artifice to defraud, with knowledge of its fraudulent nature and with specific intent to defraud,

and,

c. Third, for the purpose of executing that scheme, the Defendant used or caused the
use of interstate wires as specified in the Indictment.

Penalties

3. The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty is as follows:

 

 

 

 

 

Maximum | Supervised | Maximum Special
Count Statute Prison | Release Fine Assessment
| $250,000 or | _
Four | 18U.S.C.§1343 | 20years | 3years | twice the $100
pross pain

 

 

 

 

 

a. Prison: Ifthe Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
retumed to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable
immediately, unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may
be required to pay interest if the fine is not paid when due.

é. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this
Office’s Financial Litigation Unit will be responsible for collecting the debt, If the Court
establishes a schedule of payments, the Defendant agrees that: (1) the full amount of the fine or
restitution is nonetheless due and owing immediately; (2) the schedule of payments is merely a
Minimum schedule of payments and not the only method, nor a limitation on the methods,
available to the United States to enforce the judgment; and (3) the United States may fully
employ all powers to collect on the total amount of the debt as provided by Jaw. Until the debt is
paid, the Defendant agrees to disclose all assets in which the Defendant has any interest or over
which the Defendant exercises direct or indirect control. Until the money judgment is satisfied,
the Defendant authorizes this Office to obtain a credit report in order to evaluate the Defendant's

2
ability to pay, and to request and review the Defendant’s federal and state income tax returns.
The Defendant agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary
disclosure of federal tax return information) and a financial statement in a form provided by this
Office.

aver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had persisted in his "not guilty" plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the

Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily.
All twelve jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent, and
that presumption could be overcome only by proof beyond a reasonable doubt.

Cc. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d, The Defendant would have the right to testify in the Defendant's own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict
and the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the
facts of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or

‘false statement.

‘ 2 If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights, including the right to own firearms, vote or hold certain licenses.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998, The Defendant further understands that the Court will
impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account
the advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

a

6. This Office and the Defendant stipulate and agree to the Statement of Facts set
forth in Attachment A, which is incorporated by reference herein.

a This Office and the Defendant further agree that the applicable base offense level
for Count Four is seven, pursuant to United States Sentencing Guidelines (“U.S.S.G.") §
2B1.1(aX(1). Because a loss of more than $550,000 but less than $1.5 million was involved in
the offense, U.S.S.G. § 2B1.1(b)(1)(H), fourteen levels are added, resulting in an adjusted
offense level of twenty-one (21).

b. This Office does not oppose a 2-leve] reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level decrease in recognition of the Defendant's timely notification of the Defendant's
intention to enter a plea of guilty. This Office may oppose any adjustment for acceptance of
responsibility under U.S.S.G. § 3E1.1(a)} and may decline to make a motion pursuant to U.S.S.G.
§ 3E1.1(0), if the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii)
denies involvement in the offense; (iii) gives conflicting statements about the Defendant's
involvement in the offense; (iv) is untruthful with the Court, this Office, or the United States
Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in
any criminal conduct between the date of this Agreement and the date of sentencing; (vii)
attempts to withdraw the plea of guilty; or (viii) violates this Agreement in any way. If the
Defendant earns the acceptance of responsibility adjustment, his final offense level is eighteen
(18).
7. There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant's criminal history could alter the Defendant's offense level.
Specifically, the Defendant understands that the Defendant's criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of
the Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing
guidelines factors, potential departures or adjustments set forth in the United States Sentencing
Guidelines are in dispute or will be raised in calculating the advisory guidelines range.

2 11 (c){1) (C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1}(C) that a sentence of 18 months of imprisonment in the custody of the Bureau of Prisons
is the appropriate disposition of this case taking into consideration the nature and circumstances
of the offense, the Defendant’s criminal history, and all of the other factors set forth in 18 U.S.C.
§ 3553(a). This Agreement does not affect the Court’s discretion to impose any lawful term of
supervised release or fine or to set any lawful conditions of probation or supervised release. In the
event that the Court rejects this Agreement, except under the circumstances noted below, either
party may elect to declare the Agreement null and void, Should the Defendant so elect, the
Defendant will be afforded the opportunity to withdraw his plea pursuant to the provisions of
Federal Rule of Criminal Procedure 11(c)(5). The parties agree that if the Court finds that the
Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge personal
responsibility as set forth herein, neither the Court nor the Government will be bound by the
specific sentence contained in this Agreement, and the Defendant will not be able to withdraw his
plea.

Obligations of the Parties

10. At the time of sentencing, this Office and the Defendant will recommend the
sentence agreed upon in paragraph 9. This Office and the Defendant reserve the right to bring to
the Court's attention all information with respect to the Defendant’s background, character, and
conduct that this Office or the Defendant deem relevant to sentencing, including the conduct that
is the subject of any counts of the Indictment. At the time of sentencing, this Office will move to
dismiss any open counts against the Defendant.

Waiver of Appeal

It. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all sight, pursuant to 28 U.S.C, § 1291
or any other statute or constitutional provision, to appeal the Defendant’s conviction on any
ground whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on
the ground that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on
the ground that the admitted conduct does not fall within the scope of the statute(s), to the extent
that such challenges legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of
forfeiture, order of restitution, and term or condition of supervised release), except as follows:

i. The Defendant reserves the right to appeal any sentence that
exceeds the statutory maximum.

Cc. The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from this Office or any investigating agency.

‘tut
Restitution $550 ,000 $1.5

12. The Defendant agrees to the entry of restitution order for the full/amount of the

victims’ losses, which the parties stipulate is at | but no more ion.

The Defendant agrees that, pursuant to 18 U.S.C. §§ 3663 and 3663A and 3563(b)(0) and 3583(d),
the Court may order restitution of the full amount of the actual, total loss caused by the offense
conduct set forth in the factual stipulation. The total amount of restitution shall be due immediately
and shall be ordered to be paid forthwith. Any payment schedule imposed by the Court establishes
only a minimum obligation. Defendant will make a good faith effort to pay any restitution.
Regardless of Defendant’s compliance, any payment schedule does not limit the United States’
ability to collect additional amounts from Defendant through all available collection remedies at
any time. The Defendant further agrees that the Defendant will fully disclose to this Office, the
probation officer, and to the Court, subject to the penalty of perjury, all information (including but
not limited to copies of all relevant bank and financial records) regarding the current location and
prior disposition of al] funds obtained as a result of the criminal conduct set forth in the factual
stipulation. The Defendant further agrees to take all reasonable steps to retrieve or repatriate any
such funds and to make them available for restitution. If the Defendant does not fulfill this
provision, it will be considered a material breach of this Agreement, and this Office may seek to
be relieved of its obligations under this Agreement.

Defendant’s Conduct Prior to Sentencing and Breach

13. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any
federal, state, or local law; will acknowledge guilt to the probation officer and the Court; will be
truthful in any statement to the Court, this Office, law enforcement agents, and probation
officers; will cooperate in the preparation of the presentence report; and will not move to
withdraw from the plea of guilty or from this Agreement.
14. Hf the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ti) this Office may
make sentencing arguments and recommendations different from those set out in this
Agreement,; and (iii) in any criminal or civil proceeding, this Office will be free to use against
the Defendant all statements made by the Defendant and any of the information or materials
provided by the Defendant, including statements, information, and materials provided pursuant
to this Agreement, and statements made during proceedings before the Court pursuant to Rule 11
of the Federal Rules of Criminal Procedure. A determination that this Office is released from its
obligations under this Agreement will not permit the Defendant to withdraw the guilty plea. The
Defendant acknowledges that the Defendant may not withdraw the Defendant’s guilty plea if the
Court finds that the Defendant breached the Agreement. In that event, neither the Court nor the
Government will be bound by the specific sentence or sentencing range agreed and stipulated to
herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

15. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court, and the Court is not bound by the Sentencing Guidelines
stipulation in this Agreement. However, pursuant to paragraph 9, the Court will take into
consideration the stipulated disposition between the parties. Should the Court reject the
stipulated disposition, the parties will proceed in accordance with that paragraph. Neither the
prosecutor, defense counsel, nor the Court can make a binding prediction, promise, or
representation as to what guidelines range or sentence the Defendant will receive. The
Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

16. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no
other agreements, promises, undertakings, or understandings between the Defendant and this
Office other than those set forth in this letter and the Sealed Supplement. No changes to this
Agreement will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement,
please sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,
Robert K. Hur
United States Attorney |
a
of
Martin J/ Clarké.
Assistant United States Attomey
Ihave read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attommey and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

Bitly

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter

into this Agreement is an informed and voluntary one.

Assistant Federal Public Defender
chim

The Defendant stipulates and agrees that if this case had proceeded to trial, the
government would have proven the following facts beyond a reasonable doubt. The
Defendant also stipulates and agrees that the following facts do not encompass ail of the
evidence that would — heen presented had this matter proceeded to trial.

The Defendant, Waltiele Lamont Holder, a resident of Maryland, was the sole owner and
operator of Safe Harbour Wine Storage, LLC (“Safe Harbour”), a company incorporated in the
state of Maryland with its principal office in Glen Burnie, Maryland.

Through Safe Harbour, the Defendant stored and transported upscale wines for private
collectors and commercial establishments. In return for a monthly fee and pick-up charge, the
Defendant would arrange for the transportation of a customer’s wine to Safe Harbour’s storage
facility in Glen Burnie, Maryland, where it would be inventoried and stored. The Defendant
promoted his business as way for customers to maintain their investment in high-end wines by
storing their inventory in a secure, climate-controlied warehouse. Sometimes the Defendant
provided transportation and storage services to customers outside the state of Maryland.

Pursuant te the Defendant’s agreement with Safe Harbour’s customers, and subject to a
handling fee, the customers were supposed to have access to their inventories in order to add or
remove cases of wine. In lieu of traveling to Safe Harbour’s storage facility, customers could
pay a delivery fee and arrange to have some or all of their wine sent to them. The Defendant did
not possess a license to sell wine in the State of Maryland.

From in or about January 2013 until in or about December 2017, the Defendant devised
and intended to devise a scheme and artifice to obtain money and property from the customers of
Safe Harbour by means of materially false and fraudulent pretenses and representations, namely,
the fraudulent conversion and sale of customers’ wine for his own personal financial gain
without their knowledge and consent (“the scheme to defraud”). Unbeknownst to some of his
customers, the Defendant offered their wine for sale to wine retailers and brokers around the
country, all the while he continued to collect the customers’ monthly storage fees and accept
additional wine for storage. .

The Defendant represented to potential third-party buyers that he was in lawful
possession of the wine that he was offering to sell. By email and facsimile, he sent them lists of
bottles of wine stored in his warehouse with detailed descriptions of the winery, vintage and
asking price. After the buyers selected the bottles they wanted to purchase, they sent the list
back to the defendant, usually with a contract to purchase. The defendant boxed and shipped the
wine and sent his bank account information. After inspecting the defendant's shipment of wine,
the buyers would either wire the money directly into the Defendant’s bank account or send a
check. The Defendant kept the proceeds from the sales and spent it all on personal expenses.

More specifically, as to Count Four, on or about June 14, 2017, the Defendant faxed a
Wine Purchase Letter of Agreement from his fax machine at the Safe Harbour warehouse in
Glen Burnie, MD (phone number XXX-XXX-8641), to Company A, a wine brokerage in Napa,
California. The Letter of Agreement summarized the understanding between Company A and
the Defendant regarding specific bottles of wine that the Defendant bad offered for sale. From a
list of wines that Company A had previously received from the Defendant, Company A selected

1
216 botiles to purchase for a total price of approximately $11,800. Almost all of those bottles of
wine belonged to Safe Harbour storage customers who had never consented to the sale of their
wines. Nonetheless, the Defendant shipped the 216 bottles to Company A and, in return,
Company A wired $11,800 into the Defendant’s personal bank account on June 15, 2017. The
Defendant spent the proceeds of the sale on personal expenses.

As a result of the Defendant’s scheme to defraud, Safe Harbour customers lost between
Smntttrorf‘and $2-39 million worth of wine.
Fste,oee 81-5
SS? 20 |

 

I have read this Statement of Facts and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. I do not wish to change any part of it.

Biwe y

T am Mr. Holder’s attorney. J have carefully reviewed every part of this Statement of
Facts with him. To my knowledge, his decision to-sign it is 9;

  

Date
